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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                               )
 UNITED STATES OF AMERICA                      )
                                               )
                     v.                        )       Criminal No. 17-201 (ABJ)
                                               )
 PAUL J. MANAFORT, JR.,                        )
                                               )
                          Defendant.           )
                                               )


      DEFENDANT PAUL J. MANAFORT, JR.’S MOTION FOR AN
 ORDER PERMITTING HIM TO WEAR A SUIT AT COURT APPEARANCES

       Paul J. Manafort, Jr., through counsel, hereby moves the Court for an order

permitting him to wear a suit for the hearing on January 25, 2019, and at all subsequent

court appearances.

       WHEREFORE, Mr. Manafort asks the Court to grant his motion and to enter an

appropriate order.

Dated: January 23, 2019                            Respectfully submitted,


                                                     /s/
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                              )
 UNITED STATES OF AMERICA                     )
                                              )
                   v.                         )       Criminal No. 17-201 (ABJ)
                                              )
 PAUL J. MANAFORT, JR.,                       )
                                              )
                        Defendant.            )
                                              )



                                     [Proposed] ORDER
       Upon consideration of Defendant Paul J. Manafort, Jr.’s Motion for an Order Permitting

Him to Wear a Suit at Court Appearances, it is hereby ORDERED that the motion is

GRANTED.

       SO ORDERED.



Dated: ____________________                               __________________________
                                                          AMY BERMAN JACKSON
                                                          United States District Judge
